Case 4:18-cv-02869 Document 119-1 Filed on 02/27/20 in TXSD Page 1 of 2




              EXHIBIT A
              Case 4:18-cv-02869 Document 119-1 Filed on 02/27/20 in TXSD Page 2 of 2


Berhorst, Jennifer

From:                            Berhorst, Jennifer
Sent:                            Friday, January 25, 2019 2:01 PM
To:                              arturo_rivera@txs.uscourts.gov
Cc:                              Doug Berry (dougberry@gbwlaw.com); rgabriel@gbwlaw.com;
                                 herbjanzen.office@yahoo.com; Clay Moore (moorelaw1@sbcglobal.net); Spaniol,
                                 Andrew
Subject:                         John Hancock v. Wheatley - Case No. 4:18-cv-02869
Attachments:                     12395020 Hancock_Wheatley - Scheduling Order-v1.DOCX; 18cv02869-Proposed
                                 Scheduling Order.pdf


Mr. Rivera,

Pursuant to the Court’s January 4, 2019 Notice Regarding Initial Conference, attached please find a joint
proposed scheduling order that has been approved by all parties. In discussing the proposed dates, the parties
also agreed that mediation would be appropriate for this case and we are in agreement that the mediation
should be completed by August 1, 2019. The parties would like to conduct some initial discovery before the
mediation occurs, but when the parties are ready, we would like to see if a magistrate judge would be willing
and available to conduct a mediation.

Please let us know if you have any questions or if you need any additional information from the parties in order
to issue the scheduling order.

Thank you.

                       JENNIFER BERHORST
                       Attorney
                       jennifer.berhorst@bclplaw.com
                       T: +1 816 374 3203 F: +1 816 855 3203 M: +1 816 854 0395
                       BRYAN CAVE LEIGHTON PAISNER LLP
                       One Kansas City Place, 1200 Main Street, Suite 3800, Kansas City, MO 64105-2122
                       bclplaw.com
                       Bryan Cave Leighton Paisner At Work Blog




                                                                  1
